           Case 1:16-cr-00096-LJO-SKO Document 104 Filed 09/07/17 Page 1 of 1


 1   PHILLIP A. TALBERT
     United States Attorney
 2   BRIAN K. DELANEY
     Assistant United States Attorney
 3   2500 Tulare Street, Suite 4401
     Fresno, CA 93721
 4   Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
 5
     Attorneys for Plaintiff
 6   United States of America

 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:16-CR-00096 - LJO

12                               Plaintiff,               ORDER CONTINUING SENTENCING DATE FROM
                                                          SEPTEMBER 11, 2017 AT 10 AM TO DECEMBER
13                         v.                             18, 2017 AT 10 AM.

14   ALFONSO RIOS-AYON,
                                 Defendant.
15

16
            The parties to the above captioned matter having stipulated and applied to this Court for an order
17
     continuing the sentence as to the above-named defendant, and good cause appearing thereof:
18
            IT IS SO ORDERED, that the sentence previously scheduled for September 11, 2017 at 10:00 AM is
19
     continued to December 18, 2017 at 10:00 AM.
20

21
     DATED: September 7, 2017                                      /s/ Lawrence J. O’Neill
22                                                                 HONORABLE LAWRENCE J. O’NEILL
                                                                   United States District Judge
23

24

25

26

27

28

     Stipulation
